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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                              MARTINSBURG DIVISION

   MICHAEL JAY BRACKETT,

          Petitioner-Defendant,
                                                       Civil Action No. 3:11-cv-30
   v.                                                  Criminal Action No. 3:08-cr-56-2
                                                       (JUDGE BAILEY)

   UNITED STATES OF AMERICA,

          Respondent-Plaintiff.

             REPORT AND RECOMMENDATION TO THE DISTRICT JUDGE
                RECOMMENDING THAT THE DISTRICT COURT DENY IN
               PART AND SEVER IN PART PETITIONER’S MOTION UNDER
            28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT SENTENCE

                                      I.   INTRODUCTION

          On April 11, 2011, Petitioner-Defendant Michael Jay Brackett (“Petitioner”), by counsel B.

   Craig Manford, Esq., filed a Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct

   Sentence by a Person in Federal Custody (“Petition” or “Motion”). (Civil Action No. 3:11-cv-30,

   ECF No. 1; Criminal Action No. 3:08-cr-56-2, ECF No. 139 (“Mot.).) That same day, Petitioner’s

   counsel also filed a Memorandum in Support of Petitioner’s motion. (Civil Action No. 3:11-cv-30,

   ECF No. 2; Criminal Action No. 3:08-cr-56-2, ECF No. 140 (“Mem. in Supp.”).) On April 13,

   2011, the undersigned Magistrate Judge entered an Order directing the Respondent, the United

   States of America, (“Respondent” or “Government”) to answer Petitioner’s motion. (Criminal

   Action No. 3:08-cr-56-2, ECF No. 142.) On May 2, 2011, Petitioner, acting pro se, filed a Motion

   Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

   (“Pro Se Petition” or “Pro Se Motion”). (Civil Action No. 3:11-cv-30, ECF No. 5; Criminal Action

   No. 3:08-cr-56-2, ECF No. 143 (“Pro Se Mot.”).) The next day, the undersigned entered an Order
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   striking Petitioner’s pro se motion from the docket. (Civil Action No. 3:11-cv-30, ECF No. 4;

   Criminal Action No. 3:08-cr-56-2, ECF No. 144.) The Government responded to Petitioner’s

   motion on June 13, 2011, and Petitioner, by counsel, replied on June 20, 2011. (Civil Action No.

   3:11-cv-30, ECF Nos. 7 & 8; Criminal Action No. 3:08-cr-56-2, ECF Nos. 148 & 149 (“Resp.” and

   “Reply”).)     On July 6, 2011, Petitioner’s counsel filed a First Motion to Amend/Correct his

   Memorandum in Support of Motion. (Civil Action No. 3:11-cv-30, ECF No. 9; Criminal Action No.

   3:08-cr-56-2, ECF No. 150.) By Order dated July 8, 2011, the undersigned granted Petitioner’s

   motion and ordered that Petitioner’s pro se motion be substituted in place of the Memorandum in

   Support filed by Petitioner’s counsel and that the parties treat the Memorandum in Support as an

   exhibit supplementing Petitioner’s pro se motion. (Criminal Action No. 3:08-cr-56-2, ECF No.

   151.) The undersigned’s Order also provided the Government with an additional twenty-one days

   to file a response to Petitioner’s pro se motion and provided Petitioner with an additional fourteen

   days to file a reply. (Id.) The undersigned now issues this Report and Recommendation on

   Petitioner’s motion without holding an evidentiary hearing. For the reasons stated below, the

   undersigned recommends that the District Judge deny in part and sever in part Petitioner’s motion

   to vacate.

                                             II.   FACTS

   A.     Conviction and Sentence

          On July 9, 2008, the Grand Jury indicted Petitioner in two counts of a six-count Indictment.

   (Indictment, Criminal Action No. 3:08-cr-56-2, ECF No. 1.) Count One charged Petitioner and co-

   defendant Michael Crum with conspiracy to possess and sell stolen firearms, in violation of Title

   18, United States Code, Sections 922(j) and 371. (Id. at 1-2.) Count Six charged Petitioner with


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   being a felon in possession of a firearm and ammunition, in violation of Title 18, United States

   Code, Sections 922(g)(1), 924(a)(2)., and 924(e)(1). (Id. at 7.) On October 7, 2008, after a one-day

   jury trial, Petitioner was convicted of Counts One and Six. (Resp., Ex. 2 (“Trial Tr.”) at 245:8-17.)

           On February 24, 2009, Petitioner, represented by counsel B. Craig Manford, Esq., appeared

   before the Honorable John Preston Bailey, Chief United States District Judge, for sentencing. Chief

   Judge Bailey sentenced Petitioner to 60 months incarceration for Count One and 210 months

   incarceration for Count Six, to run concurrently, and a three-year term of supervised release on

   Count One and a five-year term of supervised release on Count Six, to run concurrently. (Judgment

   in a Criminal Case, Criminal Action No. 3:08-cr-56-2, ECF No. 117.)

   B.      Direct Appeal

           Petitioner, by counsel B. Craig Manford, Esq., pursued a direct appeal to the United States

   Court of Appeals for the Fourth Circuit (“Fourth Circuit”). Petitioner raised the following

   assignments of error: (1) the district court erroneously failed to direct a verdict in favor of Petitioner

   at the close of all evidence or, in the alternative, the jury’s verdict was contrary to the evidence

   presented; (2) it was error for the district court not to sua sponte provide the jury with a limiting

   instruction regarding Petitioner’s prior felony conviction; (3) the sentencing court erroneously

   determined that Petitioner obstructed justice and erroneously assessed a two-level increase; (4)

   Petitioner’s Sixth Amendment right to confrontation was violated when the district judge enhanced

   his sentence based on facts not found by the jury or admitted by Petitioner; (5) trial counsel was

   ineffective by failing to use a prior inconsistent statement of Petitioner’s co-defendant, by failing

   to object or move to strike Rule 404(b) evidence, and by failing to seek appropriate cautionary

   instructions; (6) portions of the district court’s charge to the jury were prejudicial; and (7) the


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   cumulative weight of all the above errors was sufficient to grant a new trial. (Motion , Ex. 1.)

          By an unpublished opinion issued April 12, 2010, the Fourth Circuit affirmed Petitioner’s

   conviction and sentence. United States v. Brackett, 373 F. App’x 427, 428, 430, 2010 WL 1434994,

   at *1, 3 (4th Cir. Apr. 10, 2010) (per curiam). The Fourth Circuit declined to address Petitioner’s

   claims of ineffective assistance of counsel on direct appeal. Brackett, 373 F. App’x at 420, 2010

   WL 1434994, at *2.

   C.     Federal Habeas Corpus

          1.      Petitioner’s Motion

          In his motion filed by counsel, Petitioner alleges nine claims of ineffective assistance of

   counsel. (Mot. at 5; see also Mem. in Supp. at 18-20.) Specifically, Petitioner claims the following:

          1.      Trial counsel made no hearsay objection to Agent Dean’s testimony regarding where

                  the shotgun was found even though it was determined that Agent Dean was not the

                  officer who first found the shotgun;

          2.      Trial counsel failed to mention during cross-examination and closing argument that

                  other ammunition found in Petitioner’s residence was located in Crum’s room;

          3.      Trial counsel made no hearsay objection to Agent Dean’s testimony that Petitioner’s

                  girlfriend, Kimberly Sullivan, told him she did not know anything about the shotgun

                  found between the mattress and box spring of Petitioner’s bed;

          4.      Trial counsel made no motion to strike Agent Dean’s testimony regarding

                  Petitioner’s statement that he possessed a 9 millimeter Ruger pistol;

          5.      Trial counsel failed to object to Crum’s testimony regarding a trip to Frederick,

                  Maryland to trade firearms for crack cocaine;


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          6.     Trial counsel failed to object to Crum’s testimony that he was aware that Petitioner

                 possessed a .38 caliber special pistol when he moved in with Petitioner;

          7.     Trial counsel failed to ask the court for a cautionary instruction when the parties’

                 stipulation regarding Petitioner’s status as a felon was read to the jury;

          8.     Trial counsel failed to object when the trial court omitted cautionary instruction

                 Number Seven entitled “Consider Only Offense Charged;” and

          9.     Trial counsel failed to use Crum’s recanting statement against him during cross-

                 examination of Crum.

   (Mem. in Supp. at 18-20.)

          In his pro se motion, Petitioner alleges an additional five claims of ineffective assistance of

   counsel. (Pro Se Mot. at 4-6; id., Ex. 8 (“Mem.”) at 6-40.) Specifically, Petitioner claims the

   following:

          1.     Trial counsel failed to file a motion to dismiss the indictment or, in the alterative,

                 failed to file a motion to inspect the list of names of qualified grand jurors who voted

                 for the indictment;

          2.     Trial counsel failed to withdraw as defense counsel despite irreconcilable conflicts;

          3.     Trial counsel failed to file a motion to suppress evidence and failed to impeach

                 government witnesses;

          4.     Trial counsel failed to investigate or call Mrs. Crum and other witnesses to testify on

                 behalf of Petitioner; and

          5.     Counsel failed to investigate or present evidence material to Petitioner’s sentencing

                 and failed to object to evidence used to determine Petitioner’s sentencing guidelines


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                  and ultimate sentence.

   (Pro Se Mot. at 4-6; Mem. at 6-40.)

          2.      Government’s Response

          In its response to the motion filed by Petitioner’s counsel, the Government asserts that

   Petitioner “simply fails to demonstrate any error at all on the part of his counsel, let alone

   demonstrate any showing that there is a reasonable probability that, but for counsel’s unprofessional

   errors, the result of the proceeding would have been different.” (Resp. at 11.) Specifically, the

   Government alleges that Petitioner did not suffer prejudice from trial counsel’s failure to object to

   hearsay because the jury was able to observe the witnesses and evaluate their credibility. (Id. at 12.)

   Furthermore, the Government states that it is unclear what the effect on the jury would have been

   if trial counsel mentioned that other rounds of ammunition were found in Crum’s bedroom. (Id. at

   13.) The Government also notes that failure to object or motion to strike any Rule 404(b) evidence

   was harmless because, absent this evidence, there was sufficient evidence to convict Petitioner. (Id.

   at 13-14.)

          Additionally, the Government asserts that a cautionary instruction was not necessary because

   the jury did not hear any underlying facts from Petitioner’s prior felony convictions, and that the

   district court did include Petitioner’s Instruction Seven in the charge to the jury. (Id. at 14-15.)

   Finally, the Government alleges that trial counsel’s decision not to use Crum’s prior inconsistent

   statement was in Petitioner’s best interest and that even if Crum’s testimony had been discounted,

   there would have been sufficient evidence to convict Petitioner. (Id. at 15.) The Government did

   not respond to Petitioner’s pro se motion.




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          3.      Petitioner’s Reply

          In his reply, Petitioner, by counsel, alleges that if trial counsel had objected to the testimony

   of Agent Dean regarding the location of the shotgun, “the Government may not have been able to

   defend against a Rule 29 Motion for Judgment of Acquittal at the close of its case.” (Reply at 3.)

   He also argues that if trial counsel had made an objection to Agent Dean’s testimony regarding the

   statements made to him by Kimberly Sullivan, the Government would not have risked calling her

   as a witness. (Id. at 4-5.) Furthermore, Petitioner asserts that trial counsel was ineffective by not

   attempting to place blame on Petitioner’s co-defendant for possession of the ammunition because

   the majority of the ammunition was found in Crum’s room. (Id. at 5.)

          Regarding the Rule 404(b) evidence, Petitioner argues that trial counsel’s performance was

   ineffective and was not harmless error because the trial outcome would probably have been

   different. (Id. at 6.) Additionally, Petitioner alleges that effective trial counsel would have

   requested a cautionary instruction when the stipulation regarding Petitioner’s status as a felon was

   read to the jury, and that trial counsel erred by not objecting to the omission of the defense’s

   cautionary instruction regarding Petitioner’s status. (Id. at 6-8.) Finally, Petitioner asserts that he

   was entitled to have trial counsel use Crum’s prior inconsistent statement for impeachment purposes

   and that this decision should be been his, not counsel’s, to make. (Id. at 8.)

   D.     Recommendation

          Based upon a review of the record, the undersigned recommends that Petitioner’s Motion

   Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

   (Civil Action No. 3:11-cv-30, ECF No. 1; Criminal Action No. 3:08-cr-56-2, ECF No. 139) be

   denied and dismissed because Petitioner has failed to meet the two prongs of Strickland to


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   demonstrate any claims of ineffective assistance of counsel. The undersigned also recommends that

   Petitioner’s pro se Motion Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a

   Person in Federal Custody (Civil Action No. 3:11-cv-30, ECF No. 5; Criminal Action No. 3:08-cr-

   56-2, ECF No. 143) be denied in part and severed in part. For the reasons stated herein, the

   undersigned recommends that Petitioner’s first four pro se claims be denied because Petitioner has

   failed to meet the two prongs of Strickland to demonstrate any claims of ineffective assistance of

   counsel.   Furthermore, the undersigned recommends that Claim Five, regarding ineffective

   assistance of counsel at sentencing, be severed due to an apparent conflict of interest because of the

   fact that Petitioner’s current retained counsel also represented Petitioner at sentencing.

                                           III.   ANALYSIS

   A.     Standard Governing Claims of Ineffective Assistance of Counsel

          The Supreme Court has set forth a two-prong test for determining whether a convicted

   defendant’s claim of ineffective assistance of counsel warrants the reversal of his conviction.

   Strickland v. Washington, 466 U.S. 668, 687 (1984). First, “the defendant must show that counsel’s

   performance was deficient.” Id. Second, “the defendant must show that the deficient performance

   prejudiced the defense.” Id. These two prongs are commonly referred to as the “performance” and

   “prejudice” prongs. Fields v. Att’y Gen. of Md., 956 F.2d 1290, 1297 (4th Cir. 1992).

          To satisfy the “performance” prong, the defendant must demonstrate that “counsel made

   errors so serious that counsel was not functioning as the ‘counsel’ guaranteed . . . by the Sixth

   Amendment.” Strickland, 466 U.S. at 687. However, a reviewing court does not “grade” trial

   counsel’s performance, and there is a strong presumption that “counsel’s conduct falls within the

   wide range of reasonable professional assistance.” Carter v. Lee, 283 F.3d 240, 249 (4th Cir. 2002).


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   Essentially, the reviewing court must not “second-guess” counsel’s performance and must “evaluate

   counsel’s performance ‘from counsel’s perspective at the time.’” Hunt v. Lee, 291 F.3d 284, 289 (4th

   Cir. 2002). Furthermore, the standard of reasonableness is objective, not subjective. See Strickland,

   466 U.S. at 688.

          To satisfy the “prejudice” prong, the defendant must demonstrate that “counsel’s errors were

   so serious as to deprive the defendant of a fair trial, a trial whose result is reliable.” Id. at 687.

   Therefore, if counsel’s errors have no effect on the judgment, the conviction should not be reversed.

   See id. at 691. The Fourth Circuit has recognized that if a defendant “cannot demonstrate the

   requisite prejudice, a reviewing court need not consider the performance prong.” Fields, 956 F.2d

   at 1297.

          The Fourth Circuit has set forth two categories of decisions made by trial counsel when

   analyzing ineffective assistance of counsel claims. First, there are “personal” decisions that require

   the defendant’s consent, such as the decision to enter a guilty plea, the decision to waive a trial by

   jury, the decision to appeal, and the decision of whether to testify at trial. Sexton v. French, 163

   F.3d 874, 885 (4th Cir. 1998) (citations omitted). The second category includes decisions that

   “‘primarily involve trial strategy and tactics,’ such as ‘what evidence should be introduced, what

   stipulations should be made, what objections should be raised, and what pre-trial motions should be

   filed.” Id. (quoting United States v. Teague, 953 F.2d 1525, 1531 (11th Cir. 1992)). Accordingly,

   “[t]here is a strong presumption that counsel’s attention to certain issues to the exclusion of others

   reflects trial tactics rather than sheer neglect.” Harrington v. Richter, 131 S. Ct. 770, 790 (2011)

   (citations omitted) (internal quotation marks omitted).




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    B.      Analysis of Petitioner’s Claims of Ineffective Assistance of Counsel

            1.      Grounds 1 and 3: Ineffective Assistance By Not Objecting to Hearsay

            As his first ground for relief, Petitioner claims that trial counsel failed to make a hearsay

    objection to Agent Dean’s testimony regarding the shotgun found between the mattress and box

    spring of Petitioner’s bed because Agent Dean was not the officer who found the shotgun. (Mem.

    in Supp. at 18.) Specifically, Petitioner asserts that if trial counsel had objected to this testimony

    and made a motion to strike such testimony, the Government may not have been able to defend

    against the Rule 29 motion for judgment of acquittal at the close of its case because the officer who

    actually found the shotgun did not testify at trial. (Reply at 3-4.) As his third ground, Petitioner

    argues that trial counsel failed to make a hearsay objection to Agent Dean’s testimony that

    Petitioner’s girlfriend, Kimberly Sullivan, told him that she did not know anything about the shotgun

    found in between the mattress and the box spring. (Mem. in Supp. at 18-19.) Specifically,

    Petitioner asserts that if such an objection had been made, the Government would not have risked

    calling Sullivan during its case-in-chief. (Reply at 4-5.) The Court will consider these two claims

    together because they both address the failure to make hearsay objections.

            “There is a strong presumption that counsel’s attention to certain issues to the exclusion of

    others reflects trial tactics rather than sheer neglect.” Harrington, 131 S. Ct. at 790 (citations

    omitted) (internal quotation marks omitted). “An attorney’s decision to object or not to object to

    certain items in the course of a jury trial is a classic example of a strategic trial judgment, ‘the type

    of act for which Strickland requires that judicial scrutiny be highly deferential.’” Benkahla v. United

    States, Nos. 1:10-cv-30, 1:06-cr-9 (JCC), 2010 WL 2721384, at *5 (E.D. Va. July 8, 2010) (quoting

    Green v. Lynaugh, 868 F.2d 176, 178 (5th Cir. 1989)); see also Humphries v. Ozmint, 397 F.3d 206,


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    234 (4th Cir. 2005) (noting that counsel’s “failure to object to inadmissible or objectionable material

    for tactical reasons can constitute objectively reasonable trial strategy under Strickland”).

           Here, Petitioner has not demonstrated to “a reasonable probability that, but for counsel’s

    unprofessional errors, the result of the proceeding would have been different.” Strickland, 466 U.S.

    at 694. As an initial matter, Petitioner’s statement about the Government calling Kimberly Sullivan

    during its case-in-chief is erroneous; it was Petitioner’s counsel who called Ms. Sullivan as a defense

    witness. (See Trial Tr. at 181:18-19.) As Petitioner appears to concede in his Reply, he has merely

    speculated that the result of the proceeding would be different. In his Reply, Petitioner speculates

    that if an objection to Agent Dean’s testimony regarding the location of the shotgun had been made

    and sustained, Detective McCully, the officer who found the shotgun, may have been unavailable

    to testify at trial. (Reply at 3-4.) If this were true, Petitioner speculates that the Government may

    not have been able to defend against a Rule 29 motion. (Id. at 3.) Furthermore, Petitioner speculates

    that Ms. Sullivan would not have been called as a witness if an objection to Agent Dean’s testimony

    had been made and sustained. (Id. at 4-5.) As the Strickland Court noted, “[i]t is not enough for the

    defendant to show that the errors had some conceivable effect on the outcome of the proceeding.”

    Strickland, 466 U.S. at 693.

           Furthermore, Petitioner’s trial counsel thoroughly cross-examined Agent Dean before the

    jury so that the jury could determine Agent Dean’s credibility. On cross-examination, Ms. Ratai

    specifically elicited that Agent Dean was not the officer who initially located the shotgun found

    underneath the mattress. (Trial Tr. 99:19-21.) Petitioner’s trial counsel also called Ms. Sullivan as

    a defense witness and elicited testimony that she was the one who actually purchased the shotgun

    and that she placed it under the mattress so that Petitioner would not know where the shotgun was.


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    (Id. at 185:5-188:1.) However, on cross-examination, Ms. Sullivan admitted that she had lied to

    Agent Dean when she said she did not know anything about the shotgun and admitted that she had

    lied on two separate occasions. (Id. at 192:25-193:6, 196:5-6.) Therefore, the jury was able to

    consider the credibility of both Agent Dean and Ms. Sullivan as witnesses despite counsel’s decision

    not to object to Agent Dean’s testimony.

           In sum, Petitioner has failed to satisfy the prejudice prong of Strickland because decisions

    regarding objections are classic examples of trial strategies. See Humphries, 397 F.3d at 234.

    Furthermore, Petitioner’s speculations as to how the trial would have differed had trial counsel

    chosen to object to Agent Dean’s testimony are insufficient to establish prejudice. Strickland, 466

    U.S. at 693. Therefore, Petitioner’s first and third claims should be dismissed.

           2.      Ground 2: Ineffective Assistance By Failing to Mention Ammunition Found in
                   Crum’s Room During Cross-Examination or Closing Argument

           In his second claim in the motion filed by counsel, Petitioner alleges that “[t]rial counsel

    failed to point out in cross-examination or during closing that ammunition found in the Brackett

    residence was located in Crum’s room and under Crum’s direct dominion and control.” (Mem. in

    Supp. at 18.) Specifically, Petitioner argues that by not attempting to place blame on Crum,

    “counsel all but conceded Petitioner’s guilt.” (Reply at 5.) Accordingly, Petitioner asserts that trial

    counsel failed by not arguing that the ammunition found in Petitioner’s bedroom was placed there

    by Crum and that Petitioner never intended to possess the ammunition. (Id.)

           During direct examination at trial, Agent Dean testified that during the search of Petitioner’s

    residence, agents located rounds of both 9 millimeter and 12-gauge shotgun ammunition on and

    around Petitioner’s night stand. (Trial Tr. at 72:17-73:13.) Agents also located some 7.62 caliber

    ammunition rounds in the same area. (Id. at 74:18-25.) Agent Dean also testified that agents located

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    a box of 12-gauge caliber shotgun ammunition and a box of 50 rounds of 9-millimeter ammunition

    around Petitioner’s night stand. (Id. at 75:1-9, 79:4-12.) Finally, Agent Dean testified that various

    types of ammunition were located in Crum’s bedroom at Petitioner’s residence. (Id. at 82:8-15,

    83:20-85:7.) Furthermore, Richard Stewart testified that the ammunition recovered from Petitioner’s

    bedroom was the same ammunition he bought in Pennsylvania and that was stolen from his gun

    cabinet. (Id. at 134:13-23.)

           During cross-examination of Agent Dean, trial counsel focused on the fact that Petitioner did

    not appear on any of the CDs containing video footage of Crum selling firearms to the confidential

    informant. (Id. at 93:20-25.) Furthermore, Agent Dean admitted that Petitioner’s name was never

    mentioned during the controlled purchases and that there was no evidence that Petitioner was even

    present during the controlled purchases. (See id. at 94:1-95:3.) During closing argument, Ms. Ratai

    focused on how the only evidence supporting Petitioner’s involvement in the conspiracy to sell the

    firearms was Crum’s testimony and how there was no evidence revealing that Petitioner was present

    at any of the controlled purchases. (Id. at 207:21-209:17.)

           The Court finds that Petitioner has failed to explain how trial counsel’s decision to not focus

    on the fact that other ammunition was found in Crum’s bedroom prejudiced Petitioner during trial.

    “There is a strong presumption that counsel’s attention to certain issues to the exclusion of others

    reflects trial tactics rather than sheer neglect.” Harrington, 131 S. Ct. at 790 (citations omitted)

    (internal quotation marks omitted). Here, Petitioner appears to suggest that he was prejudiced

    because trial counsel chose to focus on one theory of defense–the fact that Petitioner was not present

    at any of the controlled purchases–rather than focusing on the ammunition found in Crum’s bedroom

    at Petitioner’s residence. Petitioner has not demonstrated that trial counsel’s strategy falls outside


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    the “wide range of reasonable professional assistance,” Carter, 283 F.3d at 249, and he therefore

    has failed to meet his burden under the two prongs of Strickland. Thus, his second claim should be

    dismissed.

            3.      Grounds 4, 5, and 6: Ineffective Assistance by Failing to Object To or Motion
                    to Strike Rule 404(b) Evidence

            In his motion filed by counsel, Petitioner alleges three claims that trial counsel provided

    ineffective assistance by not objecting to unnoticed Rule 404(b) evidence. (Mot. at 5; see also Mem.

    in Supp. at 19.) Specifically, Petitioner alleges that trial counsel erred in not moving to strike and

    have the jury disregard Agent Dean’s testimony regarding Petitioner’s purported statement that he

    possessed a 9 millimeter Ruger pistol; that trial counsel erred in not objecting “to the Government

    leading Crum on his direct testimony” regarding a trip Crum and Petitioner made to Frederick,

    Maryland to trade guns for crack cocaine; and that trial counsel erred by not objecting to Crum’s

    testimony that he was aware Petitioner possessed a .38 caliber special pistol. (Mem. in Supp. at 19.)

    The Court will consider these claims together because they all address the failure to object to or

    motion to strike Rule 404(b) evidence.

            To determine whether the admission of evidence in violation of Rule 404(b) amounts to

    harmless error, “the test for harmlessness is ‘whether we can say with fair assurance, after pondering

    all that happened without stripping the erroneous action from the whole, that the judgment was not

    substantially swayed by the error.’” United States v. Madden, 38 F.3d 747, 753 (4th Cir. 1994)

    (quoting United States v. Nyman, 649 F.2d 208, 211-12 (4th Cir. 1980)). Courts do not inquire as

    to whether sufficient evidence was presented to convict in the absence of the improperly admitted

    evidence. Id. Instead, courts inquire as to whether it is “‘highly probable that the error did not affect

    the judgment.’” United States v. Lighty, 616 F.3d 321, 356 (4th Cir. 2010) (quoting Madden, 38 F.3d

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    at 753) (citation and internal quotation marks omitted).

            Petitioner’s argument that trial counsel rendered ineffective assistance by failing to object

    to the reference regarding a 9 millimeter Ruger pistol is without merit. Petitioner is correct that trial

    counsel objected to the testimony but did not move to strike the testimony or have it disregarded by

    the jurors. (Trial Tr. at 89:16-90:17.) However, Chief Judge Bailey explicitly instructed the jury

    to disregard “any testimony concerning a 9-millimeter pistol.” (Id. at 105:12-17.) It is presumed

    that jurors follow a court’s instructions. Richardson v. Marsh, 481 U.S. 200, 211 (1987); see also

    Strickland, 466 U.S. at 694 (“[A] court should presume, absent challenge to the judgment on

    grounds of evidentiary insufficiency, that the . . . jury acted according to the law.”) Therefore, even

    assuming trial counsel’s performance was deficient, Petitioner cannot establish prejudice to his

    defense because of Chief Judge Bailey’s instruction.

            Petitioner’s argument that trial counsel rendered ineffective assistance by failing to object

    to Crum’s testimony regarding the trip to Frederick, Maryland is simply misplaced. At the pretrial

    hearing regarding the defense’s motion in limine to strike and/or exclude evidence, the Assistant

    United States Attorney mentioned that Crum would be testifying regarding the trip to Frederick to

    trade firearms for crack cocaine. (Jury Voir Dire Tr., Oct. 7, 2008, Criminal Action No. 3:08-cr-56-

    2, ECF No. 83 at 3:4-6.) The Assistant United States Attorney noted that defense counsel had been

    put on notice of this evidence. (Id. at 3:21-22.) Chief Judge Bailey ruled that he would allow this

    testimony to come in during trial. (Id. at 6:14-20.) Therefore, even assuming that Petitioner’s

    counsel was deficient in failing to object to the admission of Crum’s testimony regarding the trip

    to trade firearms for crack cocaine, Petitioner cannot establish prejudice given Chief Judge Bailey’s

    ruling that the evidence would be admitted.


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           Overall, Petitioner cannot establish the requisite prejudice for counsel’s failure to either

    object to or motion to strike this evidence. Petitioner has failed to even establish how this evidence

    is inadmissible under Rule 404(b). See Carr v. United States, Nos. 3:07-cv-10, 3:04-cr-50, 2008 WL

    2544655, at *3 (N.D. W. Va. June 20, 2008) (nothing that counsel’s failure to object could not be

    error because petitioner did not even establish how the evidence in question was inadmissible).

    Furthermore, the admission of this evidence was harmless in light of the overwhelming evidence of

    Petitioner’s guilt presented at trial. For example, Agent Dean testified that multiple kinds of

    ammunition were found on and around the night stand in Petitioner’s bedroom. (See Trial Tr. at

    72:21-75:9, 77:18-19, 78:13-18, 79:9-12, 83:6-9.) Agent Dean also testified that Petitioner told him

    that he actually purchased the shotgun recovered at his residence. (Id. at 87:14-21, 88:17-24.)

    Richard Stewart testified that Petitioner helped him move from Pennsylvania to West Virginia, and

    that Petitioner had been inside his home in West Virginia. (Id. at 127:23-128:2, 129:10-13.) Mr.

    Stewart also testified that he recognized the boxes of ammunition recovered from Petitioner’s

    bedroom as the boxes he had bought in Pennsylvania. (Id. at 134:13-20.) Michael Marshall, the

    confidential informant, testified that he first met Petitioner at a Budget Inn and that Petitioner

    indicated that he had firearms. (Id. at 145:23-146:7.) Mr. Marshall also testified that Petitioner

    indicated that if he wished to purchase any firearms, he had to go through his co-defendant, Crum.

    (Id. at 146:3-5.) Crum, Petitioner’s co-defendant, testified that Petitioner helped him to move

    firearms from Petitioner’s residence to Crum’s mother’s residence. (Id. at 162:12-17.) Crum also

    testified that he had seen the firearm recovered from under Petitioner’s bed. (Id. at 166:11-21.)

           In sum, Petitioner has not established the requisite prejudice to his defense. Not only did

    Chief Judge Bailey instruct the jury to disregard any references to a 9 millimeter pistol and rule that


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    evidence of the trip to Frederick, Maryland to trade firearms for crack cocaine could be admitted,

    but overwhelming evidence supports Petitioner’s guilt. Therefore, Petitioner has not met his burden

    under the two prongs of Strickland, and these claims should be dismissed.

           4.      Grounds 7 and 8: Ineffective Assistance by Failing to Seek a Cautionary
                   Instruction and by Failing to Object to the Omission of Defense Instruction
                   Seven

           In his seventh ground, Petitioner alleges that trial counsel “failed to seek a cautionary

    instruction when the parties’ stipulation that Brackett was a prior felon was read to the jury.” (Mem.

    in Supp. at 19.) Specifically, Petitioner asserts that such an instruction was necessary because of

    the significant impact of the stipulation upon the jury. (Reply at 6.) In his eighth ground, Petitioner

    alleges that “[t]rial counsel failed to object when the Court omitted her cautionary instruction No.

    7 entitled ‘Consider Only Offense Charged.’” (Mem. in Supp. at 19, see also id. at 22.) Specifically,

    Petitioner argues that trial counsel was inefficient for not requesting a cautionary instruction

    immediately after the stipulation concerning Petitioner’s felony status was read to the jury and that

    trial counsel was ineffective for not using the “proper instruction” contained in Horn’s Federal

    Criminal Jury Instructions for the Fourth Circuit (“Horn’s”). (Reply at 7-8.) The Court will

    consider these two claims together because of the similar issues presented.

           In general, a defendant is entitled to a jury instruction if: 1) there is a foundation in both the

    law and evidence for the instruction, and 2) if the instruction is requested by counsel. See, e.g.,

    United States v. Matzkin, 14 F.3d 1014, 1018 (4th Cir. 1994) (determining there was no plain error

    for the district court to not sua sponte give a statute of limitations jury instruction). This appears

    to be true for limiting and cautionary instructions as well. See, e.g., United States v. Brewer, 1 F.3d

    1430, 1435 (4th Cir. 1993); United States v. Mark, 943 F.2d 444, 449 (4th Cir. 1991). However, the


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    Fourth Circuit has suggested that a limiting instruction is not required in a case involving admissible

    Rule 404(b) evidence where the nature of the evidence introduced against the defendant is so

    substantial as to allow the jury to otherwise reach the verdict. See United States v. Echeverri-

    Jaramillo, 777 F.2d 933, 937 (4th Cir. 1985). “Trial counsel is not constitutionally required to

    request a limiting instruction any time one could be given, because counsel might reasonably

    conclude that such an instruction might inadvertently call attention to the evidence of prior bad

    acts.” Albrecht v. Horn, 471 F.3d 435, 456 (3d Cir. 2006) (citing Buehl v. Vaughn, 166 F.3d 163,

    170 (3d Cir. 1999)). Therefore, the decision whether or not to request such an instruction is

    “virtually unchallengeable.” Strickland, 466 F.3d at 690-91.

           As an initial matter, even if trial counsel was deficient in failing to request a cautionary

    instruction and failing to object to the omission of Defense Instruction Seven, Petitioner cannot

    demonstrate the requisite prejudice under Strickland. During his charge to the jury, Chief Judge

    Bailey specifically stated: “The defendant is not on trial for any facts–or any acts or crimes not

    alleged in the indictment.” (Trial Tr. at 225:22-24.) This instruction is substantially similar to

    Defense Instruction Seven, which stated: “The Defendant is not on trial for any act or conduct not

    alleged in the indictment.” (Def.’s Proposed Jury Instructions, Criminal Action No. 3:08-cr-56-2,

    ECF No. 40.) As authority for this instruction, trial counsel cited O’Malley, Grenig, & Lee, Federal

    Jury Practice and Instructions § 12.09 (5th ed.). (See id.) The undersigned could find no authority

    directing that the jury instructions contained in Horn’s are preferred over other model jury

    instructions. Indeed, the disclaimer contained in Horn’s states that “[t]hese instructions have not

    been authorized by the Fourth Circuit Court of Appeals or the Fourth Circuit Judicial Council.

    Although the author and publisher believe the instructions to be consistent with relevant Fourth


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    Circuit authority, nothing herein should be regarded as an official publication of either . . . .” Carl

    Horn, III, Horn’s Federal Criminal Jury Instructions for the Fourth Circuit (2011 ed.). Therefore,

    because the district court did provide a limiting instruction that was substantially similar to Defense

    Instruction Seven, Petitioner has not demonstrated that trial counsel’s failure to request a cautionary

    instruction and failure to object to the omission of Defense Instruction Seven caused prejudice to

    his defense. See, e.g., United States v. Masters, 622 F.2d 83, 87 (4th Cir. 1990) (finding that undue

    prejudice “can be generally obviated by a cautionary or limiting instruction”).

           Furthermore, when the stipulation regarding Petitioner’s status as a felon was read to the

    jury, the jury did not hear any of the underlying facts or substance of any of Petitioner’s prior felony

    convictions. (See Trial Tr. at 175:12-24.) Instead, the jury was only informed that Petitioner had

    previously been convicted of a crime punishable by imprisonment for more than one year and that

    his civil rights to possess firearms had not been restored. (See id.) In his Order denying Petitioner’s

    Motion of the Defendant for New Trial; Motion for Judgment of Acquittal Notwithstanding the

    Verdict of the Jury, Chief Judge Bailey specifically mentioned that the testimony given by Agent

    Dean, co-defendant Crum, confidential informant Michael Marshall, and defense witness Kimberly

    Sullivan “was certainly sufficient to establish the elements of the charged offenses beyond a

    reasonable doubt without concern that the jury was unfairly prejudiced by the stipulation to

    defendant Brackett’s previous felony conviction without a limiting instruction.” (Order, Criminal

    Action No. 3:08-cr-56-2, ECF No. 106 at 6.) Overall, Chief Judge Bailey found that Defendant

    failed to demonstrate that the district court’s failure to sua sponte include a limiting instruction was

    plain error, if it was erroneous at all. (Id.) Furthermore, the Fourth Circuit, in its per curiam

    decision, ruled that the district court’s decision to not sua sponte give a limiting instruction


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    regarding Petitioner’s prior convictions was harmless error because of the “abundant evidence

    against him.” Brackett, 373 F. App’x at 429, 2010 WL 1434994, at *1.

           The undersigned finds no reason to deviate from Chief Judge Bailey’s and the Fourth

    Circuit’s findings that sufficient evidence was presented to convict Petitioner without concern that

    the jury was unfairly prejudiced by the stipulation. The district court did provide a cautionary

    instruction during its charge to the jury, and the undersigned finds no reason why the district court

    should have preferred Horn’s jury instruction over another pattern instruction. Thus, because

    Petitioner cannot demonstrate prejudice as required by Strickland, this claim should be denied.

           6.      Ground 9: Ineffective Assistance by Failing to Use Crum’s Prior Inconsistent
                   Statement for Impeachment Purposes

           As his last claim in the motion filed by counsel, Petitioner alleges that trial counsel “failed

    to use Crum’s recanting statement against him in cross-examination.” (Mem. in Supp. at 19.)

    Petitioner argues that he had a right to have this information presented to the jury and that the

    Government would not have been prepared after introduction of this statement. (Id. at 20.)

    Petitioner also asserts that trial counsel provided ineffective assistance by not disclosing the

    statement to the Government in discovery and that this constituted a strategic decision made without

    Petitioner’s input. (Reply at 8.)

           Petitioner’s argument is without merit because he has failed to demonstrate how trial

    counsel’s decision not to use Crum’s prior inconsistent statement for impeachment at trial was not

    sound trial strategy. At Petitioner’s sentencing, Crum testified that he had told the probation officer

    assigned to the case that he had been forced to sign a statement by Petitioner. (Sentencing Hrg. Tr.,

    Feb. 24, 2009, Criminal Action No. 3:08-cr-56-2, ECF No. 133 at 10:3-9.) According to Crum,

    Petitioner threatened to cause him bodily harm if he did not write the statement. (Id. at 14:11-18.)

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    The statement read: “I, Michael Crum, verify that everything I said in my statement on Report

    Number 7 is not true about Michael Jay Brackett, and I verify this with my signature.” (Id. at 20:16-

    19.) On cross-examination, Crum testified about a threat against his mother. (Id. at 23:11-13.) He

    also stated that he signed the statement because he was afraid for his life. (Id. at 25:7.)

           Petitioner has not demonstrated that trial counsel’s decisions regarding Crum’s prior

    inconsistent strategy prejudiced his defense. In fact, given Crum’s testimony at sentencing that he

    was coerced to sign the statement because of Petitioner’s threat of bodily harm, it appears that trial

    counsel’s decision not to use the statement to impeach Crum was within Petitioner’s best interest.

    Furthermore, Petitioner’s counsel did impeach Crum’s credibility by mentioning his prior

    convictions and the requirement in his plea agreement that he testify against Petitioner. (Trial Tr.

    at 167:23- 169:11, 171:24-173:11.) Therefore, because Petitioner has not met his burden under the

    two prongs of Strickland, this claim should be dismissed.

           7.      Pro Se Grounds 1 and 3: Ineffective Assistance by Failing to File Motions to
                   Dismiss and Suppress

           As his first claim in his pro se motion, Petitioner alleges that trial counsel rendered

    ineffective assistance by not filing a motion to dismiss the indictment or, in the alternative, by not

    filing a motion to inspect a list of the names of all qualified grand jurors who voted for the

    indictment. (Pro Se Mot. at 4.) Specifically, Petitioner asserts that the Court lacked jurisdiction

    because the indictment was not properly signed by both the United States Attorney and the grand

    jury foreperson. (Mem. at 14.) Instead, the indictment publicly filed in Petitioner’s case contains

    the “/s/” representation of both signatures. (See Indictment, Criminal Action No. 3:08-cr-56-2, ECF

    No. 1 at 7.) As his third claim, Petitioner claims that trial counsel rendered ineffective assistance

    by not filing a motion to suppress “evidence material to [his] conviction and/or sentence.” (Pro Se

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    Mot. at 6 (alteration in original); see also Mem. at 20-24.) However, in support of this claim,

    Petitioner seems to suggest that the evidence that should have been suppressed was alleged false

    testimony given by Government witnesses. (See Mem. at 20-24.)

           Petitioner’s argument regarding the failure to file of a motion to dismiss is without merit.

    In this district, the practice is for the “public” copies of indictments to not reveal the actual

    signatures of the grand jury foreperson and the United States Attorney; instead, they bear the “/s/”

    representation of them. Wheeler v. United States, Nos. 3:10-cv-13, 3:07-cr-70-3, 2011 WL

    2491376, at *15 (N.D. W. Va. Apr. 25, 2011). Original indictments bearing the signatures are kept

    with the Clerk of Court’s office. If Petitioner’s trial counsel had filed a motion to dismiss based on

    the lack of signatures, this motion would have been futile. Furthermore, “[c]ounsel is not required

    to waste the court’s time pursuing frivolous legal motions.” Id. (citing United States v. Bosch, 584

    F.2d 1113, 1121 (1st Cir. 1978)).         Therefore, Petitioner cannot meet the two prongs of

    Strickland because he has not demonstrated that his trial counsel was ineffective or that he was

    prejudiced.

           Likewise, Petitioner’s alternative claim that trial counsel failed to file a motion to inspect a

    list of the names of qualified grand jurors who voted for the indictment is without merit. Disclosure

    of grand jury voting records is only necessary when a defendant demonstrates a “‘particularized

    need’” for this information. Merica v. United States, No. 7:07-cv-350, 2007 WL 4561298, at *4

    (W.D. Va. Dec. 21, 2007) (citations omitted). Here, Petitioner does not allege a particularized need;

    instead, he uses twelve pages to cite various rules and cases governing grand jury procedures in an

    attempt to suggest that the required number of grand jurors did not vote for his indictment. The fact

    that Petitioner has not seen a specific record of the grand jurors who voted in favor of the indictment


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    does not prove that voting procedures were not followed. See Wilson v. United States, No. Civ-A.

    7:00-CV-775, CRIM 96:CR30068002, 2002 WL 32859483, at *5 (W.D. Va. May 6, 2002).

    Furthermore, speculative allegations do not satisfy the requirement of a particularized need, and they

    do not overcome “the presumption of regularity in grand jury proceedings.” Merica, 2007 WL

    4561298, at *4. Therefore, because there is “no obvious basis” for this type of motion, Clanton v.

    Bair, 826 F.2d 1354, 1359 (4th Cir. 1987), Petitioner has established neither prong of Strickland.

           Finally, Petitioner’s claim that trial counsel should have filed a motion to suppress is

    misplaced. The Supreme Court has held that when a defendant is claiming ineffective assistance

    of counsel based on counsel’s failure to “litigate a Fourth Amendment claim,” “the defendant must

    also prove that his Fourth Amendment claim is meritorious and that there is a reasonable probability

    that the verdict would have been different absent the excludable evidence in order to demonstrate

    actual prejudice.” Kimmelman v. Morrison, 477 U.S. 365, 375 (1986). As mentioned above, the

    decision regarding what pre-trial motions to file is a tactical decision. Sexton, 163 F.3d at 885.

    “Trial counsel is not per se ineffective merely because he failed to file a particular motion allowed

    under the rules of criminal procedure.” United States v. Tart, No. 87-7331, 877 F.2d 61, 1989 WL

    64120, at *2 (4th Cir. June 9, 1989). Therefore, counsel’s “[f]ailure to raise a losing argument or

    pursue a futile motion to suppress does not constitute ineffective assistance.” Floyd v. United States,

    Nos. 7:04-1125-HFF, 7:06-1084-HFF, 2008 WL 3925841 (D.S.C. Aug. 26, 2008) (citing Whitehead

    v. Cowan, 263 F.3d 708, 731 (7th Cir. 2001)). Simply put, Petitioner does not allege a Fourth

    Amendment claim in the third ground of his pro se motion. Instead, Petitioner seems to suggest that

    counsel should have filed a motion to suppress the alleged false testimony given by Government

    witnesses. (Mem. at 20-24.) A motion to suppress is the wrong vehicle through which to impeach,


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    and thus Petitioner’s claim regarding a motion to suppress has no merit.

           Petitioner argues that Government agents lied to the Grand Jury, that the Government

    admitted into evidence exhibits that Chief Judge Bailey ordered excluded, and that Mr. Crum should

    have been impeached by defense counsel for being a liar. (Mem. at 21-23.) First, Petitioner has not

    provided any documentation of grand jury testimony, and so the Court is unable to determine

    whether his claim regarding the Government agents has merit. Second, Petitioner is simply wrong

    regarding the exhibits. During the pretrial hearing on the motion in limine, Chief Judge Bailey

    ordered that Exhibits 22, 23, 24, 26, 30, 31, 32, 33, 40, 41, 42, 43, 44, 46, and 49 from the

    Government’s supplemental exhibit list be excluded. (Jury Voir Dire Tr. at 5:23-6:2.) These items

    chiefly involved drugs and drug paraphernalia. (See United States’ Supp. Exhibit List, Criminal

    Action No. 3:08-cr-56-2, ECF No. 63.) Petitioner claims that despite this ruling, the Government

    introduced Exhibits 44, 40A-H, 22, 41A, 30, and 31. (Memo. at 21.) However, the trial transcript

    reveals that the items actually admitted with these numbers are quite different than the ones ordered

    excluded. For example, Exhibit 44 was of a CD containing a recording of a phone call (Trial Tr. at

    63:6-12), and Exhibit 22 was three rounds of 12-gauge shotgun ammunition (Trial Tr. at 83:20-

    84:2.) Finally, Petitioner’s trial counsel did impeach Crum for untruthfulness. In fact, the trial

    transcript reveals that the entire cross-examination of Crum focused on his prior convictions and

    what he had to gain from testifying against Petitioner. (Trial Tr. at 167:9-173:17.)

           In sum, Petitioner has failed to demonstrate that counsel was ineffective for failing to file a

    motion to dismiss, for failing to file a motion to inspect a list of qualified grand jurors, and for

    failing to file a motion to suppress. Furthermore, the record demonstrates that Petitioner’s trial

    counsel did impeach Crum. As such, Petitioner has failed to satisfy the two prongs of Strickland,


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    and these two claims should be dismissed.

           8.      Pro Se Ground 2: Ineffective Assistance by Failing to Withdraw as Counsel

           In his second claim raised in his pro se motion, Petitioner alleges that Ms. Katy Ratai,

    Assistant Federal Public Defender, “unprofessionally failed to withdraw as defense counsel” because

    of alleged “irreconcilable conflict” between herself and Petitioner. (Pro Se Mot. at 5; see also Mem.

    at 18-20.) Specifically, Petitioner states that the district court erred in denying his request for new

    counsel, that his Sixth Amendment right to counsel was violated because of the alleged complete

    collapse of the relationship between himself and Ms. Ratai, and that Ms. Ratai had a conflict of

    interest. (Mem. at 18, 20.)

           The Sixth Amendment right to counsel includes the “right to representation that is free from

    conflicts of interest.” Wood v. Georgia, 450 U.S. 261, 271 (1981) (citations omitted). However,

    “the right to counsel of choice does not extend to defendants who require counsel to be appointed

    for them.” United States v. Gonzales-Lopez, 548 U.S. 140, 151 (2006). Withdraw of counsel and

    appointment of new counsel is not required simply because the defendant and counsel do not get

    along. See, e.g., Morris v. Slappy, 461 U.S. 1, 14 (the Sixth Amendment does not guarantee a

    “meaningful relationship” between a defendant and his attorney). If a defendant alleges that his

    Sixth Amendment right was violated because of a conflict of interest, he “must establish that an

    actual conflict of interest adversely affected his lawyer’s performance.” Cuyler v. Sullivan, 446 U.S.

    335, 350 (1980). If an actual conflict is demonstrated, the defendant need not prove prejudice. Id.

    at 349-50.

           At the motions hearing held before Chief Judge Bailey on August 26, 2008 to determine

    whether Ms. Ratai would continue to represent Petitioner, Ms. Ratai stated that there had been a


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    “breakdown of communication” between herself and Petitioner. (Mot. Hrg. Tr., Aug. 26, 2008,

    Criminal Action No. 3:08-cr-56-2, ECF No. 131 at 3:20-23.) Specifically, Ms. Ratai mentioned that

    Petitioner did not believe that she was “on his side” because of her “status as a federal employee,”

    that he was unhappy with the number of visits she had made to the jail, and that he was unhappy

    because she had not filed motions on his behalf. (Id. at 3:24-4:4.) When addressed by Chief Judge

    Bailey, Petitioner expressed that he did not believe either of his attorneys had his “best interests at

    heart.” (Id. at 5:14.) At the end of the hearing, Chief Judge Bailey determined that there were

    insufficient grounds for removing Ms. Ratai as counsel, and Ms. Ratai represented that she was

    “happy to continue working on the case.” (Id. at 6:20-7:3.)

           Petitioner seems to suggest that Ms. Ratai labored under a conflict of interest because of the

    breakdown in the relationship. (Memo. at 18.) However, this allegation is insufficient to establish

    an actual conflict of interest. Not only did Ms. Ratai continue to represent Petitioner, she asserted

    that her office was “ready, willing and able to fight the case.” (Mot. Hrg. Tr. at 7:5.) The fact that

    Ms. Ratai continued to represent Petitioner does not demonstrate a “complete collapse” of their

    relationship as Petitioner claims. Instead, it appears that Petitioner simply did not get along with

    Ms. Ratai, and his Sixth Amendment right was not violated by the lack of a “meaningful

    relationship.” Morris, 461 U.S. at 14. Therefore, Petitioner has failed to meet the two prongs of

    Strickland, and this claim should be dismissed.

           9.      Pro Se Ground 4: Ineffective Assistance by Not Investigating or Calling
                   Witnesses

           In the fourth claim raised in his pro se motion, Petitioner alleges that counsel “could have

    but didn’t investigate or call witnesses Mrs. Crum and other [sic] for the defense of Mr. Brackett at

    trial process.” (Pro Se Mot. at 6.) Specifically, Petitioner alleges that Mrs. Crum, his co-

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    defendant’s mother, would have testified that her son was not trustworthy, that Petitioner was not

    involved in the firearms sales, and that she knew about her son selling firearms. (Mem. at 24.) As

    support for his claim, Petitioner relies on reports prepared by Agent Dean, in which Agent Dean

    noted that on June 2, 2008, Mrs. Crum called her son regarding the location of a double-barreled

    shotgun. (Id. at 25-26.) According to Petitioner, Mrs. Crum’s testimony could have undermined

    the entire case against him. (Id. at 34.)

           The Strickland Court recognized that counsel has a duty to make reasonable investigations

    or to make a reasonable decision that makes particular investigations unnecessary. Strickland, 466

    U.S. at 690; see also Coles v. Peyton, 389 F.2d 224, 226 (4th Cir. 1968) (attorneys must “conduct

    appropriate investigations, both factual and legal, to determine if matters of defense can be

    developed”). The decision of “whether to call a defense witness is a strategic decision” that must

    be afforded “‘enormous deference.’” United States v. Kozinski, 16 F.3d 795, 813 (7th Cir. 1994)

    (quoting United States v. Hirschberg, 988 F.2d 1509, 1513 (7th Cir. 1993)). However, the

    Strickland Court also emphasized that “a particular decision not to investigate must be assessed for

    reasonableness in all the circumstances, applying a heavy measure of deference to counsel’s

    judgments.” Strickland, 466 U.S. at 691. “Complaints of ineffective assistance of counsel based

    upon ‘uncalled witnesses’ are not favored in federal habeas corpus review because mere unsupported

    allegations about what testimony potential witnesses might have given are far too speculative.”

    Talley v. United States, Nos. 1:06-cv-74, 1:94-cr-118, 2006 WL 3422997, at *9 (E.D. Tenn. Nov.

    26, 2006). Furthermore, the Fourth Circuit has held that conclusory allegations concerning what

    exculpatory testimony would have been presented “are insufficient to establish the requisite

    prejudice under Strickland.” United States v. Terry, 366 F.3d 312, 316 (4th Cir. 2004).


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             As stated above, Petitioner alleges that Mrs. Crum would have provided testimony

    undermining the entire case against Petitioner because she would have testified about her son’s

    untrustworthiness, about how Petitioner was not involved in the conspiracy to sell firearms, and

    about her knowledge that her son was selling firearms. (Mem. at 24, 34.) However, in his reports,

    Agent Dean only mentions that on June 2, 2008, Mrs. Crum called her son about a double-barreled

    shotgun that she acknowledged was hers. (Id. at 26.) Furthermore, on June 10, 2008, the day that

    the search warrant was executed at Crum’s residence, Mrs. Crum told the agents that the bedroom

    she was found in belonged to her and that the other bedroom belonged to her son. (Id. at 27.)

    According to Petitioner, these facts “prove that Mrs. Crum knew about all the guns that was [sic]

    in her son [sic] bedroom.” (Id. at 28.) However, based on these reports, it was reasonable for trial

    counsel to not conduct interviews with Mrs. Crum because “counsel has no duty to conduct an

    investigation for its own sake in the absence of plausible indications that it might bear fruit.” Harris

    v. United States, Nos. 5:03 CV 23 3 V, 5:06 CR 5 V, 2006 WL 322609, at *5 (W.D.N.C. Feb. 9,

    2006).

             Here, while Petitioner has identified Mrs. Crum, he has failed to “make an affirmative

    showing as to . . . the availability of the witness to testify, the details of what the uncalled witness

    would have testified to, and that the testimony of the uncalled witness would have produced a

    different, more favorable result at trial.” Talley, 2006 WL 3422997, at *9. Furthermore, Petitioner’s

    conclusory allegations that Mrs. Crum would have provided exculpatory evidence are not sufficient

    to establish prejudice under Strickland. See Terry, 366 F.3d at 316; see also Washington v. Murray,

    952 F.2d 1472, 1479 (4th Cir. 1991) (defendant must show that the testimony would have been “of

    high probative force” to generate “enough of real doubt to prevent a finding of guilt”). Therefore,


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    because Petitioner has failed to demonstrate that trial counsel’s performance was either deficient or

    prejudicial, this claim should be dismissed.

           10.     Pro Se Ground 5: Ineffective Assistance at Sentencing

           In his last claim included in his pro se motion, Petitioner alleges that counsel “failed to

    investigate or present available evidence material to [his] sentencing.” (Mem. at 35 (alteration in

    original).) Petitioner also alleges that counsel failed to “object to false and unreliable evidence used

    to determine [his] guideline sentencing range and ultimate sentence.” (Id. (alteration in original).)

    Specifically, Petitioner asserts that he should not have been sentenced pursuant to the Armed Career

    Criminal Act (“ACCA”) because his prior conviction for assault and battery of a law enforcement

    officer should not qualify as a “violent felony” under the ACCA. (Id. at 37.)

           By Order dated May 3, 2011, the undersigned struck Petitioner’s pro se motion from the

    docket because his retained counsel had previously filed the instant motion to vacate but allowed

    Petitioner to seek leave to file an amended petition if he and his counsel wished to raise the

    additional claims contained in his pro se filing. (Civil Action No. 3:11-cv-30, ECF No. 4; Criminal

    Action No. 3:08-cr-56-2, ECF No. 144.) On July 6, 2011, Petitioner’s counsel filed a First Motion

    to Amend/Correct Memorandum in Support of Motion, in which he asked the Court to substitute

    Petitioner’s pro se motion and exhibits for the Memorandum in Support previously filed. (Civil

    Action No. 3:11-cv-30, ECF No. 9; Criminal Action No. 3:08-cr-56-2, ECF No. 150.) The Court

    granted this motion on July 8, 2011. (Criminal Action No. 3:08-cr-56-2, ECF No. 151.)

           While Petitioner was represented by Assistant Federal Public Defenders Katy Ratai and

    Brian Crockett at trial (Resp., Ex. 2 (“Trial Tr.”) at 1), B. Craig Manford, Esq., entered a notice of

    appearance on behalf of Petitioner on November 25, 2008 (Criminal Action No. 3:08-cr-56-2, ECF


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    No. 84.) Mr. Manford represented Petitioner at sentencing (Criminal Action No. 3:08-cr-56-2, ECF

    No. 133 at 1), and is currently representing Petitioner for his § 2255 motion (See Docket Sheet, Civil

    Action No. 3:11-cv-30; Docket Sheet, Criminal Action No. 3:08-cr-56-2). Therefore, it appears that

    Petitioner is claiming ineffective assistance of counsel against Mr. Manford, the very attorney

    representing him in the instant proceeding. As such, the Court finds that because of this apparent

    conflict of interest, it cannot fully consider Petitioner’s claim at this time.

            Because of this apparent conflict, the Court recommends that Petitioner’s claim of ineffective

    assistance of counsel at sentencing (Claim Five in his pro se motion) be severed from the rest of

    claims. Petitioner will have fourteen (14) days from being served a copy of this Report and

    Recommendation to notify the Court, in writing, if he wishes to pursue this claim either pro se or

    through other retained counsel. If Petitioner fails to notify the Court in writing within fourteen (14)

    days, the undersigned will enter another Report and Recommendation recommending that this claim

    also be dismissed.

                                       IV.   RECOMMENDATION

            Based upon a review of the record, the undersigned recommends that Petitioner’s Motion

    Under 28 U.S.C. § 2255 to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody

    (Civil Action No. 3:11-cv-30, ECF No. 1; Criminal Action No. 3:08-cr-56-2, ECF No. 139) be

    DENIED and DISMISSED because Petitioner has failed to meet the two prongs of Strickland to

    demonstrate any claims of ineffective assistance of counsel.

            The undersigned further recommends that Petitioner’s pro se Motion Under 28 U.S.C. § 2255

    to Vacate, Set Aside, or Correct Sentence by a Person in Federal Custody (Civil Action No. 3:11-cv-

    30, ECF No. 5; Criminal Action No. 3:08-cr-56-2, ECF No. 143) be DENIED IN PART and


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    SEVERED IN PART. For the reasons stated herein, the undersigned recommends that Petitioner’s

    first four claims be DENIED because Petitioner has failed to meet the two prongs of Strickland to

    demonstrate any claims of ineffective assistance of counsel. Furthermore, the undersigned

    recommends that his fifth claim, regarding ineffective assistance of counsel at sentencing, be

    SEVERED because of the apparent conflict of interest created because Petitioner’s current retained

    counsel also represented Petitioner at sentencing. Within fourteen (14) days after being served with

    a copy of this Report and Recommendation, Petitioner must notify the Court, in writing, if he wishes

    to pursue his fifth claim either pro se or through different retained counsel. Failure to timely notify

    the Court will result in the undersigned entering a second Report and Recommendation that Claim

    Five also be dismissed.

           Within fourteen (14) days after being served with a copy of this Report and

    Recommendation, any party may file with the Clerk of Court written objections identifying those

    portions of the recommendation to which objection is made and the basis for such objections. A

    copy of any objections shall also be submitted to the Honorable John Preston Bailey, Chief United

    States District Judge. Failure to timely file objections to this recommendation will result in waiver

    of the right to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C.

    § 636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985);

    United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

           The Court directs the Clerk of the Court to provide a copy of this Report and

    Recommendation to all counsel of record as provided in the Administrative Procedures for

    Electronic Case Filing in the United States District Court for the Northern District of West Virginia.

    The Court further directs the Clerk of the Court to mail a copy of this Report and Recommendation


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    to the pro se Petitioner Michael Jay Brackett.

           DATED: November 15, 2011




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